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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                       MDL NO. 2924
    PRODUCTS LIABILITY                                                                20-MD-2924
    LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

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   THIS DOCUMENT RELATES TO: ALL CASES

                                  PRETRIAL ORDER # 42
                           Second Census Implementation Order:
                Temporary Census Plus Form Extension Due to Vendor Data Issue

          In PTO # 38, this Court issued a brief extension due to a data problem that occurred with

   Cerner, the company retained by most plaintiffs’ firms to assist in the processing of their census

   plus forms (CPFs). At that time, Cerner represented to this Court that the data issue had been

   corrected and that a two-week extension would be sufficient to correct the resulting errors. Since

   then, it has become clear that the problems were more widespread and complex, and as a result

   thousands of would-be Registry participants would not be able to complete their CPFs by August

   31, 2020—and thus would be barred from participating in the Registry.

          The parties and this Court have repeatedly indicated that the Registry presents a unique

   and beneficial tool for both sides in this MDL, superior for most parties to the option of filing

   litigation—as evidenced by the rate of adoption of PTO # 15 by defendants and the high percentage

   of potential plaintiffs opting to file in the Registry relative to the small number of filed cases in

   this MDL.

          The Court understands that there are certain would-be claimants who are still unable to

   access their CPF through the self-service portal in Cerner, but that more broadly Cerner has
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   continued to experience delays throughout the CPF process from on-boarding and client outreach

   to technical support and reporting, due to the high volume of claims that remain outstanding. As

   a result, a number of law firms were advised that they should not utilize Cerner or should attempt

   to complete their clients’ CPFs directly or through a different vendor, and thus some affected

   claimants are not presently Cerner clients.

          The co-lead counsel for plaintiffs and defendants, together with the Special Master, have

   jointly recommended that this Court enter this Order. The deadline to upload a CPF to LMI is

   hereby extended to September 30, 2020 for any client who, before August 1, 2020, had retained a

   law firm that has, on or before August 27, 2020, either already submitted CPFs for some of their

   clients or executed a Registry Consent form. Put simply, firms that had already indicated a desire

   to participate in the Registry may participate in this extension, to the extent that the claimant is

   one who had retained that firm prior to August 1.

          PTO # 15 provides for the submission of CPF forms to LMI. The Court understands that,

   due to the data errors, the Special Master and LMI directed Cerner to halt uploads to LMI to ensure

   the integrity of the Registry database. Therefore, for any Claimant whose deadline is set by this

   Order, the date of submission shall be deemed to be the earlier of the date on which Cerner actually

   uploads to LMI the completed CPF, or the date of this Order. This is intended to allow for

   maximum flexibility in addressing this problem, allowing counsel to direct upload to LMI, use

   other vendors, or continue to use Cerner. This paragraph shall only apply to a Claimant whose

   CPF is uploaded, or provided via excel spreadsheet, to LMI on or before September 30, 2020—if

   the Claimant does not provide a CPF by that date, he/she does not benefit from this Order.

          The Court recognizes that, as a result of these delays, all resources are being focused first

   on these claims—and thus that the next tranche of CPFs (largely those that retained counsel during



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   the third quarter of 2020), due on October 30, 2020, are being subordinated to the processing of

   these would-be claimants. As such, the Court also extends the deadline for any client that retained

   counsel during the third quarter of 2020 to November 30, 2020, in order to avoid further delays or

   extensions due to this reallocation of resources.

           This Order does not shorten the period of time to complete a CPF for any claimant; if the

   operation of the otherwise existing PTOs would provide a longer period, that timeline shall govern,

   as this Order is solely intended to extend certain deadlines.

           Counsel are reminded that it is ultimately their obligation to ensure timely completion of

   their clients’ CPFs, and thus to strongly consider how they will ensure that these deadlines are

   satisfied without reliance upon Cerner if the data/intake and capacity issues are not resolved within

   days, such that they have claimants who still do not have a completed CPF by August 31. The

   Special Master is authorized to extend any deadline related to the CPFs for Registry Claimants

   and/or the Registry in her sole discretion, for good cause shown. However, in light of this Order’s

   extension of time, the Court reminds counsel that this will be a very difficult standard to satisfy.

           No further extensions shall be provided (including by the Special Master) on the basis of

   the Cerner data issue or any other problems with Cerner for the claimants whose forms are now

   due on September 30.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 29th day of August,

   2020.



                                                 ROBIN L. ROSENBERG
                                                 UNITED STATES DISTRICT JUDGE




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